Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 1 of 57 Pageid#: 49




  EXHIBIT “A”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 2 of 57 Pageid#: 50



  From:                  Dave Bourne
  To:                    dmoran@co.augusta.va.us
  Subject:               FW: Nexus
  Date:                  Thursday, January 28, 2016 4:50:45 PM
  Attachments:           BAIL AGENT - ZIMMERMANS BONDING.pdf
                         RECOGNIZANCE -
                         RECOGNIZANCE -
                         HAGEL - EMAIL NEXUS.pdf
                         6VAC20-250-260 - SOLICITATION OF BUSINESS.pdf


  Don,

  Please see the preceding email which may offer you some insight on Nexus. I rafted this to open
  discussions with the guys in Baltimore and thought you might want to read it as well.

  Best,


  David L. Bourne
  David L. Bourne, General Agent
  (Office) 540-886-5447 (Mobile)
  (Facsimile) 540-886-5449




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  From: Dave Bourne [mailto:dave@1800forbail.com]
  Sent: Thursday, January 28, 2016 10:44 AM
  To: Randy Parton (RParton@lexingtonnational.com) <RParton@lexingtonnational.com>
  Cc: 'Ronald A. Frank' <RFrank@lexingtonnational.com>; Nick Wachinski
  <NWachinski@lexingtonnational.com>; MARK HOLSCHNEIDER
  (mholtschneider@lexingtonnational.com) <mholtschneider@lexingtonnational.com>
  Subject: Nexus

  All,

          Over the weekend we learned that Nexus made an appearance at the Middle River
   Regional Jail (MRRJ) located in Augusta county, which is where our office is located. We are
   working on confirming the identity of one of the people present, but the other one was
   definitely David Schneider, of Zimmerman Bail Bonds, out of Richmond, Virginia (card and
   bond license verification attached). They posted bail in the amount of $10,000.00 for
              (recognizance attached), with fees being paid by Nexus and without an indemnitor.
   While they were there they also bonded a girl by the name of                  in the amount of
   $2,000.00 (recognizance attached) also without the fee or an indemnitor. We had been
   working with both clients on trying to get 7% down. Neither of the clients made direct contact
   to have their bonds posted by Zimmerman's.
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 3 of 57 Pageid#: 51



          Deputy Sheriff Don Moran, assigned to the FBI task force, also a former agent of ours,
   has contacted us in reference to the undertakings of Nexus and advised that the Sheriff was
   rather concerned with what they are doing and wanted him to look into it. I have provided
   him with all of this documentation as well as the background element on Mike Donovan and
   Richard Moore and after some further probing, the FBI may launch an investigation.

           Back to our former client                     , I first talked with his son          , who
   advised that a female friend of his father gave him the number for Nexus (540-292-2321)
   because they get people out of jail for free. He called the number and talked to a female and
   gave her the rundown. She advised that the bondsman would call him within a few minutes.
   Shortly thereafter, he received a call from David Schneider of Zimmerman's Bail Bonds, who
   advised he would do the bond at no cost but it would take a while for him to get there because
   he was coming from Richmond.                          , at the jail, told Schneider that he usually
   worked with us and wanted to know how much he had to pay that day to make this happen
   and how long he would have to pay the balance? Schneider replied "you don't owe a thing, it's
   all taken care of through a government grant.” This got the attention of the Pre-trial services
   worker (according to                who happened to be there and she took several of his cards
   and stated that it just didn't seem right that he would travel from Richmond and bond two
   people out, not collect any money, or have anyone acquainted them to sign for them, and she
   was going to look into it. The Jail officers were also puzzled by it as they had never heard of
   such a thing. Schneider allegedly said that it was grant funded and he was on salary and he
   got paid regardless if the defendant went to court or not.                also told me that he
   walked out with Schneider and he was in a vehicle with "government plates" and he reiterated
   that it was taken care of with a government grant.                is concerned because you don't
   get something for nothing and he is afraid that he may be contacted later and asked to do
   something in return. I was originally thinking that he was going to be required to wear and
   pay for a monitor as well as an enormous fee for the bond on an installment plan, but I was
   totally off base. The only requirement is for him to check in at their Harrisonburg or Verona
   office, one time per week. That was again confirmed by my son last night as he talked with
   officer Costello from MRRJ, who was present at the time the bonds took place. He advised
   Tyler that Schneider told him that the people have to qualify for the bonds and it was a
   "charity."             could have been confused by the language, maybe the bondsman said
   charity to him as well, which is most likely the case. With all that being said I have some
   questions?

          If there is no rain, the creek dries up. We know that they gave away 3 shopping sprees
   in December for $1,000 each to families in the area and gained a lot of exposure doing it.
   3,000 is an easy investment for that much attention. However they also Gave away a new
   house to an area family, a much larger investment. Before all of that, they purchased an entire
   industrial park near my office for 22 million. All of that demonstrates the water flowing
   through the creek, where is the rain that feeds the pond from which the water flows?

          How do you keep the capital flowing if you're in the business of giving away money?

          If you're legitimate and paying a bondsman to post bail for you, why wouldn't you use
   a local guy to cut your costs? Why pay a property bondsman to come from Richmond?

  In addition, why would you have a lawyer on staff getting state bail legislation passed such as
   making it possible to get a bail piece release from a magistrate rather than a clerk of court?
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 4 of 57 Pageid#: 52


   That's a good thing, but if you are not in the bail business, why bother investing the money in
   legislation that benefits bail bondsmen? (Email attached)

  In the Virginia code 6VAC20-250-260 (A) Only a licensed bail bondsman shall be
   authorized to solicit bail bond business in the Commonwealth. It may be a gray area,
   but they are soliciting and awarding the business to Zimmerman's. Should we seek an
   injunction keeping them from calling a bondsman as well a court order requiring them have
   the defendant choose their own bondsman? If it’s a legal charity, the local bondsman will get
   the business.

  A government grant doesn't make sense and there are many government vehicles at the jail so
  maybe             was confused about the government plate. Why would the government use
  grant money to pay a bail bondsman when they already have a pre-trial release program that
  could get the defendants released on PR?

  I have never heard of a charity that pays a bondsman to get people out of jail and I've never
   heard of a bondsman getting people out of jail without some background information on the
   defendant or an indemnitor.

  Someone has to be guaranteeing payment of the forfeiture because the bondsman's signature is
  on the recognizance and the judge isn't going to care if it was for charity or not. I just can't see
  a bondsman taking the risk without a guarantor. The jail officers are telling us that this guy
  had no paper work. They said "you guys come in here with a ton of paperwork and this guy
  shows up with nothing." It's like he was there posting a transfer bond.

  To make these particular bonds even more interesting, we all felt the impact of the storm over
  the weekend. The bondsman drove from Richmond. Charity or not that's 90 miles, in one of
  the worst snow storms in history. The incentive had to be big in order to create that desire.

  Calling it a charity is the only thing that makes sense because I can't imagine the government
  awarding a grant for this purpose. But where is the "charity" money coming from? What is
  the return?

  I think it is one of three things.

  1) Money Laundering - if partnering with a property bondsman, you can eliminate the cost of
  the premium and build-up fund paid up the ladder, thereby reducing the costs of doing the
  laundry. This would increase the amount available to cover part the bondsman's cut for
  cleaning up the money.

  2) If they are actually operating on a government grant, is the government trying to increase
  the failure rate of bondsman getting people to court throughout the country thereby paving the
  way for the expansion of the federal government's pre-trial release program? Doubtful.

  3) Could they be attempting to increase the FTA rate of defendants released by bondsmen, that
   are not on monitors, versus those defendants that are on monitors in order to provide
   statistical success rate to substantiate the expansion of electronic monitoring throughout the
   country?

  The whole thing smells real bad and could take our business down the drain really fast. I was
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 5 of 57 Pageid#: 53


   told by another bail agent that Zimmerman's got 13 defendants out in Harrisonburg several
   months ago in the same fashion they did over the weekend at MRRJ. The bondsman is most
   likely inflating the numbers, but I imagine they did get some. We are now getting phone calls
   where the caller is asking if we are the company that gets people out for free. Nexus has a
   new ad running on television (trying to get a copy) indicating "if you don't have the money
   for bail call us.” The word is spreading quickly.

  The Sheriff has been made aware of Donovan's criminal history and provided the proof. There
  are eleven felony convictions on him and with that kind of record in his past, there is most
  likely fraudulent activity going on. I haven't seen much of Richard Moore. There is a new
  guy on the ads which goes by the name of Evan Ajin, Vice president, I don't have his vitals
  "yet" so I can't get his records at this time.

  None of us can compete with free bail, and the results of free bail, will hurt us all in the end. I
  will keep you posted on further events and if you have any thoughts or suggestions I would
  like to hear them.


  David L. Bourne
  David L. Bourne, General Agent
  (Office) 540-886-5447 (Mobile)
  (Facsimile) 540-886-5449




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   EXHIBIT “B”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 7 of 57 Pageid#: 55



  From:                  Dave Bourne
  To:                    dmoran@co.augusta.va.us
  Subject:               Nexus
  Date:                  Thursday, January 28, 2016 5:23:45 PM


  Don,

  Please take a minute and check out this link http://www.nexusgives.com/ This was their nomination
  process. Turns out that the home they give away isn’t actually given away. They only give it to them
  for 4 years rent free. Could someone then deposit dirty money into an account and claim it as rental
  income to clean the money up? Rent isn’t deductible so the people living there wouldn’t be
  deducting on their taxes, who would know?


  David L. Bourne
  David L. Bourne, General Agent
  (Office) 540-886-5447 (Mobile)
  (Facsimile) 540-886-5449




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  EXHIBIT “C”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 9 of 57 Pageid#: 57



  From:                  Dave Bourne
  To:                    dmoran@co.augusta.va.us
  Subject:               NEXUS
  Date:                  Friday, January 29, 2016 2:12:32 PM


  Don,

        Please see the two links below. The first one is the arrest of the two bounty hunters in
  Richmond that work for Schneider. The second one is an article about Nexus profiting from
  Immigration bail with electronic monitors. ICE states that it is perfectly legal to put them on
  monitors but what is interesting is if you read on they say that Nexus isn’t connected to a bail bond
  company that gets them out.

  http://wtvr.com/2015/09/28/2-men-charged-with-possession-of-a-firearm-on-school-property-in-
  henrico-county/


  http://americasvoice.org/blog/profiting-from-immigrants-bail-bond-company-charges-420-a-month-
  for-a-gps-ankle-bracelet/



  David L. Bourne
  David L. Bourne, General Agent
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Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 10 of 57 Pageid#: 58




   EXHIBIT “D”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 11 of 57 Pageid#: 59



   From:                  Dave Bourne
   To:                    dmoran@co.augusta.va.us
   Subject:               Nexus
   Date:                  Friday, February 05, 2016 4:35:14 PM




   Don,

   See the link below. The whole article is interesting but see paragraph 2.

   http://www.whsv.com/home/headlines/GPS-Bracelets-Allow--163777136.html



   David L. Bourne
   David L. Bourne, General Agent
   (Office) 540-886-5447 (Mobile)
   (Facsimile) 540-886-5449




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5/5/2016   Case 5:16-cv-00035-EKD-JCH    Document
                                    GPS Bracelets        1-1Jail Overcrowding
                                                  Could Help     Filed 06/06/16         Page
                                                                              and Save Tax Money12 of 57 Pageid#: 60




    GPS Bracelets Could Help Jail Overcrowding and
    Save Tax Money




    By Amelia Nahmias | Posted: Wed 6:48 PM, Jul 25, 2012 | Updated: Wed 7:16 PM, Jul 25, 2012

    HARRISONBURG, Va -- GPS tracking bracelets are not a common sight in the Valley. We have all heard of
    celebrities, like Lindsay Lohan, wearing these and now Rudy Dean in the Valley is wearing one. If these GPS
    bracelets were to take off here, it might be something we would need to get more used to seeing.

    Mike Donovan at Nexus Programs specializes in GPS monitoring systems for pre-trial defendants. If an
    inmate cannot afford to pay bond, Nexus will cover the fee as long as the defendant wears a GPS device.

    "When they get out, we will put them on a tracking bracelet,” said Donovan. “They are responsible for the
    cost. Instead of the tax payers paying $60 to $70 a day, the defendant pays $10 or $11."

    This system will track the person 24 hours a day, 365 days a year and I will keep track of where they go,
    how fast, and when. Any restrictions ruled by the judge can be easily monitored.

    "The banding of the bracelet has stainless steal rivets. That make it so it cannot be cut off. If you are using
    a professional metal cutter, it will take about 30 minutes to cut through the entire bracelet, and the moment
    that you initially start cutting the authorities are noti㠳〰ed. So, the bracelet, as far as GPS tracking devices go,
    is one of the most secure in making sure that people can't remove it or tamper with it."

    Cindy Carr is the spokeswoman for Dean and she said this bracelet is something she hopes more people
    will use. She said that Dean is trying to get his life back together.



http://www.whsv.com/home/headlines/GPS-Bracelets-Allow--163777136.html                                                    1/4
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                                                                              DQG 6DYH 7D[ 0RQH\13 of 57 Pageid#: 61

    "You can never get back the six months that you sit in jail without bond, but at least he didn't have to add to
    that," said Carr.

    The use of this device could greatly reduce jail overcrowding as well as tax money, since the bracelets are
    fully funded by the defendant.

    "Ten or eleven-dollars sounds expensive, but think about it, that's one or two working hours a day,” said
    Donovan. “So, instead of sitting in jail and doing nothing, a person can come out get to work and be a more
    productive member of society."

    Rockingham County Sheriff Bryan Hutcheson said it is not something that they are planning on
    implementing. It would be up to the judge whether this becomes more popular in the Valley.

    Donovan said he hopes to have at least 20 more pre-trial inmates out on bond this year and using this GPS
    tracking bracelet.

    ¦Follow Amelia Nahmias on Facebook.




    Comments are posted from viewers like you and do not always re¡ect the views of this station.

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Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 14 of 57 Pageid#: 62




   EXHIBIT “E”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 15 of 57 Pageid#: 63



   From:            Dave Bourne
   To:              Don Moran
   Subject:         Re: Nexus
   Date:            Friday, February 05, 2016 6:52:43 PM


   Yeah like I said a felony case averages about 16 months before final disposition. That's almost
   $8000.

   Now I know why Nagel got the legislation passed to allow the magistrates to issue Surety's
   Capias. When someone don't pay the fee or attempts to cut the monitor off, they can
   apprehend them and get the paper right away and lock them up.




   David L. Bourne, General Agent
   1-800-FOR-BAIL.com
   (Office) 540-886-5447
   (Mobile)
   (Facsimile) 540-886-5449

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   On Feb 5, 2016, at 5:11 PM, Don Moran <dmoran@co.augusta.va.us> wrote:


          seems their using the gps to off set not paying the fee..
          On Feb 5, 2016, at 4:34 PM, Dave Bourne
           <dave@1800forbail.com<mailto:dave@1800forbail.com>> wrote:
          Don,
          See the link below. The whole article is interesting but see paragraph 2.
          http://www.whsv.com/home/headlines/GPS-Bracelets-Allow--163777136.html
          David L. Bourne
          David L. Bourne, General Agent
          (Office) 540-886-5447 (Mobile)
          (Facsimile) 540-886-5449
          <image001.jpg>
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    EXHIBIT “F”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 18 of 57 Pageid#: 66



   From:           Dave Pastors
   To:             Timothy Martin; Alexandra Meador
   Cc:             Luther J. Hite; Samantha L. Honig; Debbie Walker; Dave Pastors
   Subject:        Bond Appeal - J       D
   Date:           Friday, February 05, 2016 3:34:42 PM
   Attachments:    image001.png
                   image003.png


   Hey Tim and Alex….

   The attorneys involved in this case and the individuals who were accompanying them are
   associated with Nexus Programs, a local group who is involved in supplying GPS tracking
   equipment for illegal immigrants who are required to be tracked by the Federal Immigration
   folks. See link below…it is helpful to read the comment section at the bottom. One of them
   was Mike Donovan.

   They are trying to expand their services beyond their federal contract. Mike Donovan who
   says he is the co-owner, is the former spokesperson for the Virginia Bail Bondsmen. He was
   involved in introducing legislation in 2008 and subsequent years to limit pretrial programs in
   Virginia in order to boost bail bondmen income. The more defendants released to pretrial on
   PR bonds, the less income for bail bondsmen. Donovan lost his bail bondsmen license
   several years ago due to several felony convictions for financial crimes and now has
   reinvented himself in this GPS business. He served time and then was on probation in the
   Rockingham County area.

   How they make their money is they have their surety company cover the bail for defendants
   and then they require them to be on GPS at a daily fee. One of the problems is that they are
   not concerned about the risk of the defendant, just having someone out to pay them a daily
   fee. I’ll be glad to slip over to chat, but I would be cautious of their operation.

   Best,

   Dave

   http://www.whsv.com/home/headlines/GPS-Bracelets-Allow--163777136.html


   David T. Pastors, Director
   Blue Ridge Court Services
   White Star Mill
   125 South New Street
   Staunton, VA 24401

   540-886-1008, Ext. 4208
   pastorsdt@ci.staunton.va.us


   From: Timothy Martin [mailto:tmartin@co.augusta.va.us]
   Sent: Friday, February 05, 2016 2:45 PM
   To: Alexandra Meador <ameador@co.augusta.va.us>
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 19 of 57 Pageid#: 67


   Cc: Dave Pastors <PastorsDT@ci.staunton.va.us>
   Subject: RE: Bond Appeal - J     D

   Alex,

   Please contact Dave Pastors about the attorneys you’re dealing with on this one. Thanks.

   Tim

   From: Ashleigh Simmons
   Sent: Friday, February 05, 2016 1:13 PM
   To: Alexandra Meador <ameador@co.augusta.va.us>
   Cc: Julie Hawkins <jhawkins@co.augusta.va.us>; Patty Campbell <pcampbell@co.augusta.va.us>;
   ASimmons@courts.state.va.us; Timothy Martin <tmartin@co.augusta.va.us>
   Subject: Bond Appeal - J      D

   Ladies,

                   A bond appeal has been set in Circuit Court for Thursday, February 11, 2016 at 11:00 AM.
    Alex will handle this.

   Thank you.

   Ashleigh Harris Simmons
   Paralegal
   County of Augusta
   Commonwealth’s Attorney’s Office
   Phone: 540.245.5313 ext. 109
   Email: asimmons@co.augusta.va.us


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   Thank you. County of Augusta.
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 20 of 57 Pageid#: 68




   EXHIBIT “G”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 21 of 57 Pageid#: 69



   From:             Dave Bourne
   To:               tmartin@co.augusta.va.us
   Subject:          Nexus
   Date:             Wednesday, February 10, 2016 10:04:19 PM
   Attachments:      RECOGNIZANCE -
                     RECOGNIZANCE -
                     RECOGNIZANCE -
                     RECOGNIZANCE
                     RECOGNIZANCE
                     BAIL AGENT - ZIMMERMANS BONDING.pdf


   Tim,

   Below are several links about Nexus. As I said the President is Michael Donovan and the Executive
   Vice President is Richard Moore. Both are convicted felons multiple times and they are running a
   scam on the communities of Harrisonburg, Rockingham, Staunton, Waynesboro and Augusta County
   and I fear that other locations are soon to come. You will not see Donovan or Moor’s name and title
   anywhere but you will hear Donovan identify himself and his title. Moore is out of sight but he is still
   the Executive VP. I would prefer that you get the criminal history stuff from Don Moran at ACSO
   540-457-9928. I printed all the dispositions but I’m sure the most accurate records are what he
   pulled. Make sure you take an hour and watch the 2 episodes of Breaking Through at the bottom of
   the list. That will give you a clear picture of what they are trying to achieve. Keep in mind when you
   are watching that these are con men and wicked smart. They make themselves out to be pillars of
   the community with all of the stuff they give away but read the fine print. One question to ask is,
   where does the money come from? How does a business stay alive with all the money going out?

   Attached are the bonds that I know of that they posted for free. One of the            bonds was
   posted with 2,000 cash. The Chief Governmental Affairs Officer for Nexus Services, Richard Nagel,
    posted all the bonds, with the exception of J       and           , through a bonding company out
   of Northern Virginia Called BRIAN COLE BAIL BONDS. They write corporate surety on Financial
   Casualty & Surety paper and they do this with immigration bail throughout the country. David
   Wayne Schneider, owner of Zimmerman’s Bail Bonds out of Chesterfield, came in and posted for
            and           .

   My understanding is that the bondsmen just roll in post the bail and leave. They don’t get vital
   information from the client in case they need to find them and they don’t get family members to
   sign for them. They just post and go. That leaves the community in a vicarious situation. Keep in
   mind that convicted felons are not eligible to be licensed bail agents and that is exactly what they
   are trying to be and they want to supervise the defendants through electric monitors. They will use
   free bail as the hook with an agreement that the defendant wear and pay for an electronic monitor
   at $11.00 per day. The average life of most case is about 12 months. $11.00 per day X 365 is
   $4,015.00. Please see my illustration below as compared to the bail bond itself. There is certainly a
   place for them in some cases but electronic monitors should only be used when it is mandated by
   the court. Otherwise it becomes a form of extortion by making the defendant pay $420.00 per
   month under the threat of being returned to jail.

   Bail Bond $500.00 @ $11.00 per day = $77.00 per week for 5 weeks (last payment $38.00) = $500.00.

   Electric Monitor @ $11.00 per day = $77.00 per week for 52 weeks = $4,004.00 (52 weeks is average disposition
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 22 of 57 Pageid#: 70


   time)
   All my Best.

   Dave

   NEXUS PROFITING FROM IMMIGRANTS WITH ANKLE MONITOR
   http://americasvoice.org/blog/profiting-from-immigrants-bail-bond-company-charges-420-a-month-
   for-a-gps-ankle-bracelet/

   NEXUS GIVES / HOME NOMINATION PROCESS
   http://www.nexusgives.com/

   CHRISTMAS GIVE AWAY PROGRAM
   https://youtu.be/YtLzUZsRSu8

   HOME GIVE AWAY
   https://youtu.be/DrrQUsErsM0


   NEWS LEADER STORY OF NEXUS MOVING CORP HEADQUARTERS TO VERONA
   http://www.newsleader.com/story/news/local/2015/04/28/nexus-move-
   augusta-county-mill-place-office-park/26515919/

   NEWS LEADER AD
   http://www.newsleader.com/story/news/special-
   reports/2015/06/26/immigration-ministry-becomes-nationwide-
   business/29293751/?from=global&sessionKey=&autologin=

   NEXUS LEADERSHIP TEAM
   http://www.librebynexus.com/#!our-leadership-team/ij7we

   NEXUS WEBSITE HOME
   http://www.librebynexus.com/


   Breaking Through Episode 1
   http://www.whsv.com/content/misc/Breaking-Through-Episode-1-367381451.html


   Breaking Through Episode 2
   http://www.whsv.com/content/misc/Breaking-Through-Episode-2-367680461.html



   David Wayne Schneider Busted
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 23 of 57 Pageid#: 71


   http://m.richmond.com/news/article_9db4f739-5e1d-5fab-b4ef-1aa4bc4a9a9d.html?
   mode=jqm



   David L. Bourne
   David L. Bourne, General Agent
   (Office) 540-886-5447 (Mobile)
   (Facsimile) 540-886-5449




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   EXHIBIT “H”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 25 of 57 Pageid#: 73



   From:            Ketcham, Tami J
   To:              Don Moran
   Subject:         FW: Subjects of interest
   Date:            Tuesday, February 09, 2016 5:12:53 PM




   From: Ketcham, Tami J
   Sent: Tuesday, February 09, 2016 5:07 PM
   To: Don Moran
   Subject: Subjects of interest

   Don,

   It was great meeting you today. I reviewed all of the information you gave me and created the
    attached subject of interest sheet. Password to open will be sent in email to follow. Please take a
    look and see if I left anything off or recorded anything incorrectly. We will start doing work ups of
    all these people/companies and see what we can find to help us determine whether or not we have
    a viable case. I have been able to confirm that the employee accused of embezzlement by NEXUS is
    here illegally and it appears he did not have authorization to be employed.

   Tami J. Ketcham
   HSI Special Agent
   263 Neff Avenue, Harrisonburg, VA
   Office Phone-540-432-2358X2227
   Fax-540-432-3392
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 26 of 57 Pageid#: 74




     EXHIBIT “I”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 27 of 57 Pageid#: 75



   From:           Dave Bourne
   To:             tmartin@co.augusta.va.us
   Subject:        Nexus
   Date:           Monday, February 15, 2016 7:18:05 PM




   BREAKING THROUGH EPISODE 3. Looks like they're going after MRRJ over the next 3
   weeks.

   http://www.whsv.com/content/misc/Breaking-Through-Episode-3-368605701.html


   David L. Bourne, General Agent
   1-800-FOR-BAIL.com
   (Office) 540-886-5447
   (Mobile)
   (Facsimile) 540-886-5449

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    EXHIBIT “J”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 29 of 57 Pageid#: 77



   From:                  Dave Bourne
   To:                    jalee@co.augusta.va.us
   Subject:               NEXUS
   Date:                  Monday, February 15, 2016 5:28:40 PM


   Dear Jack,

   Please see the links below.

   Breaking Through Episode 3
   http://www.whsv.com/content/misc/Breaking-Through-Episode-3-368605701.html



   DONAVAN – CARMAX
   http://wtvr.com/2015/06/09/dozens-paid-to-protest-outside-of-carmax/


   Best,


   David L. Bourne
   David L. Bourne, General Agent
   (Office) 540-886-5447 (Mobile)
   (Facsimile) 540-886-5449




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   EXHIBIT “K”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 31 of 57 Pageid#: 79



   From:               Jack Lee
   To:                 Steve Owen
   Subject:            Fwd: NEXUS
   Date:               Monday, February 15, 2016 9:17:52 PM
   Attachments:        image002.jpg


   Hey Boss,

   When you get a chance and a little time watch the 3 episodes attached. This group needs to be
   watched closely. They could be recklessly dangerous to the whole criminal justice system.

   Jlee




   Sent from my iPad

   Begin forwarded message:


          From: Dave Bourne <dave@1800forbail.com>
          Date: February 15, 2016 at 5:27:45 PM EST
          To: <jalee@co.augusta.va.us>
          Subject: NEXUS



          Dear Jack,

          Please see the links below.

          Breaking Through Episode 3
          http://www.whsv.com/content/misc/Breaking-Through-Episode-3-368605701.html



          DONAVAN – CARMAX
          http://wtvr.com/2015/06/09/dozens-paid-to-protest-outside-of-carmax/


          Best,


          David L. Bourne
          David L. Bourne, General Agent
          (Office) 540-886-5447 (Mobile)
          (Facsimile) 540-886-5449
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 32 of 57 Pageid#: 80




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   Thank you. County of Augusta.
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   EXHIBIT “L”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 34 of 57 Pageid#: 82



   From:               Jack Lee
   To:                 Eric Young; Lori Nicholson; Faye McCauley; Amber Hostetter; John Lilly; Bob Moubray; Tony Heflin
   Subject:            Fwd: NEXUS
   Date:               Monday, February 15, 2016 8:57:06 PM
   Attachments:        image002.jpg


   Watch all three episodes.

   Sent from my iPad

   Begin forwarded message:


         From: Dave Bourne <dave@1800forbail.com>
         Date: February 15, 2016 at 5:27:45 PM EST
         To: <jalee@co.augusta.va.us>
         Subject: NEXUS



         Dear Jack,

         Please see the links below.

         Breaking Through Episode 3
         http://www.whsv.com/content/misc/Breaking-Through-Episode-3-368605701.html



         DONAVAN – CARMAX
         http://wtvr.com/2015/06/09/dozens-paid-to-protest-outside-of-carmax/


         Best,


         David L. Bourne
         David L. Bourne, General Agent
         (Office) 540-886-5447 (Mobile)
         (Facsimile) 540-886-5449




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  EXHIBIT “M”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 36 of 57 Pageid#: 84



   From:            Mike Roane
   To:              donald.moran@ic.fbi.gov
   Cc:              Donald Smith; William Spence
   Subject:         Document1
   Date:            Thursday, February 25, 2016 12:16:51 PM
   Attachments:     Document1.docx


   Events of 2-25-16.




   Michael Roane
   Investigation’s Division
   Augusta County Sheriff’s Office
   540-245-5333
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 37 of 57 Pageid#: 85




                                             Events of 2-25-16



                                              Inv. M. C. Roane



  On 2-25-16 CWA Tim Martin contacted me via phone at approximately 0825 hours. He said that he was
  preparing for a bond review in the case of Commonwealth VS. D . The bond hearing was set for
  Augusta County Circuit Court at 0900 hours. I am currently working the alleged rape case where D
  has been charged. There was one previous bond hearing, where bond was denied. This is the final
  review of bond in the local court system. I told Tim that I would appear and observe the case even
  though I was not expected to be called as a witness. I arrived at the court house at approximately 0900
  hours. As I entered the upstairs portion of the building, I observed several (approximately 15-20)
  Hispanic decent persons waiting directly outside of the court room. I entered the room and was
  positioned in the front row. A few minutes later, the proceedings began. All of the persons that were
  waiting outside, appeared in the courtroom and took a seat on the left side of the gallery. Eventually I
  repositioned myself and was now seated on the right side.



  I am vaguely familiar with the case that Inv. Moran is involved with regarding the Nexus Company. This
  is the same company that has employed D s’ attorney. Based on my limited knowledge, I took several
  photographs of the persons in the courtroom and forwarded them via text to Inv. Moran. We
  exchanged a few text messages. Inv. Moran encouraged me to take as many photographs as possible to
  assist in his investigation. I then contacted Lt. Leveck via text and requested that he and other
  Investigators respond to the Wharf parking lot in a covert manner. I requested that they observe the
  group and photograph vehicles and tags to assist Inv. Moran. The bond hearing lasted approximately 2
  hours, with the Judge remanding D to be held without bond. I then left the courtroom and exited the
  building. As I left the building I heard a male’s voice call for me. I turned around and noticed a middle
  aged male dressed in a suit approaching me. I had previously noticed him in the courtroom seated with
  the rest of the group. The male asked for my name. I responded by asking him, who wanted to know.
  He then explained that he was a private investigator for the defense. I responded by saying that I wasn’t
  going to give him my name. He then asked me if I was involved in the case. I told him that I was not
  going to speak with him. He then responded by saying it was worth a try and requested to speak to me
  at some point and time. I then told him again that I did not wish to speak to him and promptly walked
  away. I then went into the building across the street and photographed the male that I had just
  encountered. I called Inv. Moran via phone and explained what had just occurred. He asked that I write
  a Word Doc explaining my interactions. He also asked that I brief the Sheriff on the interaction. I
  promptly responded to the office and met with Captain Spence. Sheriff Smith was in a meeting so Capt.
  Spence was briefed. I completed this Word Doc and forwarded it to Inv. Moran via email. The
  photographs taken by myself and Lt. Leveck will also be forwarded to Inv. Moran.
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 38 of 57 Pageid#: 86




   EXHIBIT “N”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 39 of 57 Pageid#: 87



   From:            Timothy Martin
   To:              Debbie Walker
   Subject:         Re: D    Bond Hearing Today
   Date:            Thursday, February 25, 2016 1:22:22 PM


   Thank you so very much for this. It means an awful lot to me. I really can't stand these people
   and have no clue where the money comes from. It's weird.

   Sent from my iPhone

   On Feb 25, 2016, at 1:16 PM, Debbie Walker <WalkerDM@ci.staunton.va.us> wrote:


          GOOD JOB today!!! I was proud and confident having you represent the County in the
          Nexus dog and pony show/fight.
          Your question to the doctor about her compensation appeared to startle the defense
          “team”. Her answers were interesting, too!
          Glad you’re in that office!

          Debbie Walker
          Pretrial Program Manager

          Blue Ridge Court Services
          White Star Mill Building
          120 S. New Street
          Staunton, VA 24401
          540-886-1008, ext. 4202


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   Thank you. County of Augusta.
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   EXHIBIT “O”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 41 of 57 Pageid#: 89



   From:            Timothy Martin
   To:              Don Moran
   Subject:         Fwd: appointment
   Date:            Monday, March 07, 2016 2:58:49 PM


   FYI. Thoughts? I have told Patty she can feel free to schedule this sort of thing, but I am not
   at all interested in meeting this guy.

   Sent from my iPad

   Begin forwarded message:


          From: Patty Campbell <pcampbell@co.augusta.va.us>
          Date: March 7, 2016 at 2:52:19 PM EST
          To: Timothy Martin <tmartin@co.augusta.va.us>
          Subject: appointment



          Tim,
          Rick Nagel from Nexus Services in Verona called and scheduled a meet and greet with
          you for tomorrow morning @ 9:30. Nothing specific, just wanted to meet and let you
          know about services (I believe they work with immigrants). His # is
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 42 of 57 Pageid#: 90




    EXHIBIT “P”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 43 of 57 Pageid#: 91



   From:           Moran, Donald L. (RH) (FBI)
   To:             Donald Smith
   Subject:        Report
   Date:           Monday, March 07, 2016 9:38:08 AM


   Hey, Can you do a report for the Event when Nexus came to the office to talk about Don Moran.
   Thanks, I know your busy. We are going to the US Attorneys office in Roanoke tomorrow to discuss
   this case. Hopefully we will get good news. I’ll keep you posted.

   Thanks Don.
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 44 of 57 Pageid#: 92




   EXHIBIT “Q”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 45 of 57 Pageid#: 93



   From:             Joy Mauzy
   To:               MDONOVAN@NEXUSHELPS.COM
   Subject:          BUSINESS LICENSES
   Date:             Monday, March 07, 2016 4:09:39 PM
   Attachments:      image001.png
                     Scan from a Xerox WorkCentre (58.5 KB).msg


   Good Afternoon Mike,
   I would like to thank you again for meeting with us today and allowing a walk-through of your
    beautiful facility.

   I have attached the bills from the Treasurer’s office for Libre By Nexus, Inc, Entertainment by Nexus,
    Inc, Nexus Properties, LLC and Nexus Services, Inc. These are the only ones that had balances due
    on them. The other business licenses will have no amount due, so I will get those issued soon.
    Once these are all paid, you will receive the actual business license showing gross receipts and total
    tax.

   Let me know if you have any questions. Thank you again and we are so happy to have Nexus in
    Augusta County!!




   Joy Mauzy, MDCR
   Tax Auditor
   jmauzy@co.augusta.va.us
   Augusta County Government Center
   P.O. Box 959
   Verona, VA 24482
   540.245.5640 phone
   540.245-5179 fax




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   Thank you. County of Augusta.
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   EXHIBIT “R”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 47 of 57 Pageid#: 95



   From:              Gene R. Ergenbright
   To:                Joy Mauzy
   Subject:           RE: Hey
   Date:              Tuesday, March 08, 2016 3:00:57 PM
   Attachments:       image003.png


   Give me a minute and I will log into Augusta and get it for you. If he’s in El Salvador I want to be in
   Alaska.

   ____________________________________________
   From the desk of Ray Ergenbright
   Business Auditor, City of Harrisonburg


   From: Joy Mauzy [mailto:jmauzy@co.augusta.va.us]
   Sent: Tuesday, March 08, 2016 3:00 PM
   To: Gene R. Ergenbright
   Subject: RE: Hey

   I did check the folder Meany! There was only my original spreadsheet in it!

   Fine, but you might want to consider El Salvador and I know someone you can go with!!!!  




   Joy Mauzy, MDCR
   Tax Auditor
   jmauzy@co.augusta.va.us
   Augusta County Government Center
   P.O. Box 959
   Verona, VA 24482
   540.245.5640 phone
   540.245-5179 fax




   From: Gene R. Ergenbright [mailto:Ray.Ergenbright@harrisonburgva.gov]
   Sent: Tuesday, March 08, 2016 2:54 PM
   To: Joy Mauzy <jmauzy@co.augusta.va.us>
   Subject: RE: Hey
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 48 of 57 Pageid#: 96



   Ok, you mean person, check the folder. There should be one named ???(Revised) it think.

   You didn’t ask me very nicely and my feelings are hurt and I think I need to let you know that right up
   front. Now straighten up or I will retire and move to Pakistan. And I will TAKE MY BUSINESS with me
   and Augusta County will have to close its doors! And you and Larry will have to tax each other !!   




   ____________________________________________
   From the desk of Ray Ergenbright
   Business Auditor, City of Harrisonburg


   From: Joy Mauzy [mailto:jmauzy@co.augusta.va.us]
   Sent: Tuesday, March 08, 2016 2:48 PM
   To: Gene R. Ergenbright
   Subject: RE: Hey

   You sent me the Nexus letter but not      !




   Joy Mauzy, MDCR
   Tax Auditor
   jmauzy@co.augusta.va.us
   Augusta County Government Center
   P.O. Box 959
   Verona, VA 24482
   540.245.5640 phone
   540.245-5179 fax




   From: Gene R. Ergenbright [mailto:Ray.Ergenbright@harrisonburgva.gov]
   Sent: Tuesday, March 08, 2016 2:43 PM
   To: Joy Mauzy <jmauzy@co.augusta.va.us>
   Subject: RE: Hey

   MEANY!
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 49 of 57 Pageid#: 97



   ____________________________________________
   From the desk of Ray Ergenbright
   Business Auditor, City of Harrisonburg


   From: Joy Mauzy [mailto:jmauzy@co.augusta.va.us]
   Sent: Tuesday, March 08, 2016 2:42 PM
   To: Ray Ergenbright; Gene R. Ergenbright
   Subject: Hey

   Did you get the spreadsheet for          finished?




   Joy Mauzy, MDCR
   Tax Auditor
   jmauzy@co.augusta.va.us
   Augusta County Government Center
   P.O. Box 959
   Verona, VA 24482
   540.245.5640 phone
   540.245-5179 fax




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   Thank you. County of Augusta.
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    EXHIBIT “S”
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 51 of 57 Pageid#: 99
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 52 of 57 Pageid#: 100
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 53 of 57 Pageid#: 101
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 54 of 57 Pageid#: 102
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 55 of 57 Pageid#: 103
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 56 of 57 Pageid#: 104
Case 5:16-cv-00035-EKD-JCH Document 1-1 Filed 06/06/16 Page 57 of 57 Pageid#: 105
